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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE

                                                      :
VECOPLAN, LLC,                                        :
                                                      :
                                 Plaintiff,           :      Court No. 20-00126
                            v.                        :
                                                      :
UNITED STATES,                                        :
                                 Defendant.           :
                                                      :

                                              ORDER

        Upon reading plaintiff’s motion for summary judgment, defendant’s cross-motion

for summary judgment, and the parties’ respective responses thereto; and upon

consideration of other papers and proceedings had herein; it is hereby

        ORDERED that plaintiff’s motion for summary judgment be, and hereby is,

denied; and it is further

        ORDERED that defendant’s cross-motion for summary judgment be, and hereby

is, granted; and it is further

        ORDERED that this action be, and hereby is, dismissed.

                                        ____________________________________
                                        RICHARD K. EATON, JUDGE

Dated: New York, New York
       This _______ day of _________ , 2023.
        Case 1:20-cv-00126-RKE Document 51                Filed 01/25/23    Page 2 of 47




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE

                                                      :
VECOPLAN, LLC,                                        :
                                                      :
                               Plaintiff,             :       Court No. 20-00126
                       v.                             :
                                                      :
UNITED STATES,                                        :
                               Defendant.             :
                                                      :

            DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Rules of the United States Court of International Trade,

defendant, the United States, respectfully moves this Court for an Order: (1) denying plaintiff’s

motion for summary judgment; and (2) granting our cross-motion for summary judgment and

holding that the merchandise at issue is classifiable in subheading 8479.89.94, of the

Harmonized Tariff Schedule of the United States.

       The facts and reasoning for defendant’s cross-motion for summary judgment are set forth

in the attached memorandum, the exhibits submitted with plaintiff’s motion for summary

judgment, and the exhibits submitted with our cross-motion.
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       WHEREFORE, defendant respectfully requests that an Order be entered denying

plaintiff’s motion for summary judgment, granting defendant’s cross-motion for summary

judgment and dismissing plaintiff’s complaint in its entirety, and granting such other and further

relief as may be just and appropriate.

                                         Respectfully submitted,

                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General
                                         Civil Division

                                         PATRICIA M. McCARTHY
                                         Director

                                         /s/ Justin R. Miller
                              By:        JUSTIN R. MILLER
                                         Attorney-In-Charge
                                         International Trade Field Office

                                         /s/ Monica P. Triana_____________
                                         MONICA P. TRIANA
                                         Trial Attorney
                                         Department of Justice, Civil Division
                                         Commercial Litigation Branch
                                         26 Federal Plaza – Room 346
                                         New York, New York 10278
                                         Tel. (212) 264-9240 or 9230
Date: January 25, 2023                   Attorneys for Defendant
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE

                                                 :
VECOPLAN, LLC,                                   :
                                                 :
                            Plaintiff,           :       Court No. 20-00126
                     v.                          :
                                                 :
UNITED STATES,                                   :
                            Defendant.           :
                                                 :




  DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF ITS CROSS-MOTION
                   FOR SUMMARY JUDGMENT



                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General

                                         PATRICIA M. McCARTHY
                                         Director

                                         JUSTIN R. MILLER
                                         Attorney-In-Charge
                                         International Trade Field Office

                                         MONICA P. TRIANA
                                         Trial Attorney
                                         Civil Division, Dept. of Justice
                                         Commercial Litigation Branch
                                         International Trade Field Office
                                         26 Federal Plaza, Room 346
Of counsel:                              New York, New York 10278
Sabahat Chaudhary, Esq.                  Attorneys for Defendant
Office of Assistant Chief Counsel        Tel. No. 212-264-9240 or 9230
International Trade Litigation
U.S. Customs and Border Protection
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE

                                                         :
VECOPLAN, LLC,                                           :
                                                         :
                                 Plaintiff,              :       Court No. 20-00126
                         v.                              :
                                                         :
UNITED STATES,                                           :
                                 Defendant.              :
                                                         :

  DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF ITS CROSS-MOTION
                   FOR SUMMARY JUDGMENT

        Defendant, the United States (Government), respectfully submits this memorandum of

law in opposition to the motion for summary judgment filed by plaintiff, Vecoplan, LLC

(Vecoplan or plaintiff), and in support of our cross-motion for summary judgment, pursuant to

Rule 56 of the Rules of the United States Court of International Trade (USCIT).

                                         INTRODUCTION

        At issue is the appropriate tariff classification of two different lines of plaintiff’s

industrial shredders, VAZ 1600 and VAZ 1800. These large, industrial machines are used to cut,

shred, or otherwise size-reduce a variety of waste materials using a rotating cylinder, also called

a rotor, which is fitted with cutting inserts and sits inside a cutting chamber. After the material is

dropped into the cutting chamber, a process ram is used to push material towards the rotor. At

that point, the cutters first reduce the material in size, and then the material is further cut when it

passes through the space between the rotor and a stationary counter knife. The parties agree that

the shredders are classifiable in heading 8479, Harmonized Tariff Schedule of the United States

(HTSUS), which covers “[m]achines and mechanical appliances having individual functions, not

specified or included elsewhere in this chapter . . . .” At liquidation, U.S. Customs and Border
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Protection (Customs or CBP) classified the shredders in subheading 8479.89.94, HTSUS, which

covers, in relevant part, “[o]ther machines and mechanical appliances: . . . other: . . . other,”

dutiable at 2.5% ad valorem.

       Plaintiff claims that the shredders are properly classified in subheading 8479.82.00,

HTSUS, which covers, in relevant part, “[o]ther machines and mechanical appliances: . . .

[m]ixing, kneading, crushing, grinding, screening, sifting, homogenizing, emulsifying or stirring

machines.” Compl. ¶ 28. This is a duty free provision. However, to be classified in this

provision, plaintiff must show that the principal function of the imported shredders is either

“[m]ixing, kneading, crushing, grinding, screening, sifting, homogenizing, emulsifying or

stirring.” The undisputed facts show that none of these processes reflect the principal function of

the machines. Rather, the facts show that the imported shredders are used to cut, shred or

otherwise reduce the size of the material that is fed into the cutting chamber of the machine.

Accordingly, the proper tariff classification of the merchandise is under subheading 8479.89.94.

                                    STATEMENT OF FACTS

   A. The Merchandise At Issue

       This case concerns the tariff classification of Vecoplan’s single shaft (or single rotor)

shredders, which fall into two specific product lines, the VAZ 1600 and the VAZ 1800.

Compl. ¶ 10; Def. Ex. 1 (Interrogatories (Rogs)) at 3-4; see e.g., Def. Ex. 2 (Entry Papers).

Vecoplan purchases the machines from the manufacturer, its German parent company, Vecoplan

AG. Compl. ¶ 9; Def. Ex. 2 (Entry Papers); Def. Ex. 3 (Deposition of Thomas Sturm (Sturm




                                                  2
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Dep.))1 at 20:13-18; Def. Ex. 4 (Deposition of Gary Kolbet (Kolbet Dep.)2 at 20:16-21:5.

Although plaintiff’s core business is in size reduction machines, like the merchandise at issue,

plaintiff sells other products, such as conveyors and machines for screening and storing, which

are often used in conjunction with the size reduction equipment to create a complete system.

Def. Ex. 3 (Sturm Dep.) at 23:4-25:1; Def. Ex. 4 (Kolbet Dep.) at 17:1-20, 19:11-20:9.

       The specific machines at issue are the VAZ 1600 S, VAZ 1600 SXL, VAZ 1600 SXLT,

VAZ 1600 M, VAZ 1600 MXL, VAZ 1800 T, and VAZ 1800 NT. Compl. ¶ 10; see e.g., Def.

Ex. 2 (Entry Papers). These are large industrial machines, measuring approximately 10 to 14

feet long, 9 to 10 feet wide, and weighing up to 24,000 pounds. Pl. Ex. 1 (VAZ 1300-1600); Pl.

Ex. 2 (VAZ 1800). The different models, designated by letters (S, M, XL, T), vary in terms of

the size of the machine, the diameter of the rotor (XL representing the larger diameter), the

length of the rotor and ram stroke (S, M), and the function of the machines drive (T representing

the high torque drive, which allows variable speed in the rotor). Def. Ex. 1 (Rogs) at 4; Def. Ex.

3 (Sturm Dep.) at 34:16-35:16, 154:17-155:24; Def. Ex. 4 (Kolbet Dep.) at 31:14-24; Def. Ex. 5

(Deposition of Len Beusse (Beusse Dep.)3 at 45:6-12, 48:5-24. Each of the machines at issue

“process[es] solid waste material from larger forms to smaller forms,” and they each operate in

the same manner in terms of the technology used and the process of size reduction. Def. Ex. 1

(Rogs) at 4; Def. Ex. 3 (Sturm Dep.) at 31:23-32:13.




1
  Mr. Sturm is a Vecoplan AG employee, the parent company to Vecoplan, LLC. His current
position is head of the Department of Quality Environmental Safety and Health. Def. Ex. 3
(Sturm Dep.) at 7:16-25.
2
  Mr. Kolbet is an employee of Vecoplan, LLC. His current position is Vice President of
Engineering. Def. Ex. 4 (Kolbet Dep.) at 9:3-11.
3
  Mr. Beusse is a former Managing Director and Chief Operating Officer for Vecoplan, LLC.
Def. Ex. 5 (Beusse Dep.) at 10:18-11:3.
                                                 3
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       The method by which the machines operate is described in two current patents, which

were filed by Vecoplan or one of its affiliates, with the U.S. Patent and Trademark Office: Patent

No. US 6,837,453 (453 Patent) covering the “Shredder,” Pl. Ex. 17 (453 Patent); and Patent No.

US 9,144,803 (803 Patent) covering the “Shredder With Multi-Point Cutters.” Pl. Ex. 16 (803

Patent); Def. Ex. 6 (Patent List); Def. Ex. 7 (Patent Application Publication). Although the two

current patents cover modifications and/or improvements to the basic shredder model, not the

shredder itself (covered by European patent EP0419919B2, which has expired), Vecoplan has

indicated that these patents describe, in detail, the parts and operation of the basic shredder, and

its core part, the u-rotor. Def. Ex. 3 (Sturm Dep.) at 38:25-39:9, 40:10-16, 43:24-44:9; 100:22-

101:16, 117:7-15; Pl. Ex. 8 (European Patent) at 1, 5. Vecoplan agrees that the parts and

operation of the shredders at issue are the same as those described in the relevant patents. Def.

Ex. 3 (Sturm Dep.) at 50:17-25; 56:10-13; 67:17-71:3; 108:22-110:5.

       As reflected in both U.S. patents, the basic shredder/u-rotor covered by EP0419919B2

represents the “prior art” or the existing knowledge of the machines in the industry. Def. Ex. 3

(Sturm Dep.) at 38:25-39:9, 43:24-44:9; Pl. Ex. 17 (453 Patent) at 5; Pl. Ex. 16 (803 Patent) at

17. The technology described in these patents is the same technology used to operate each of the

machines at issue. Id.; Def. Ex. 3 (Sturm Dep.) at 50:17-25; Def. Ex. 4 (Kolbet Dep.) at 46:13-

48:10. The operation of the machines was also described in detail by Mr. Thomas Sturm, a

Vecoplan AG employee and the inventor identified in the 453 Patent; plaintiff selected Mr.

Sturm to testify as its designated agent regarding, among other things, the functioning of the

machines, their “operation,” and their “uses or intended uses.” Def. Ex. 3 (Sturm Dep.) at 13:9-

15:9; Def. Ex. 9 (Dep. Notice).




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          As described in both U.S. patents, the “invention[s] relate[] to the rotary shredders for

shredding various material comprising a rotor and counter knife.” Pl. Ex. 17 (453 Patent) at 5;

Pl. Ex. 16 (803 Patent) at 17; Def. Ex. 3 (Sturm Dep.) at 43:2-6, 100:22-101:20. The machines

are sold to members of diverse industries such as the “plastic, paper, wood and solid waste”

industries, Def. Ex. 1 (Rogs) at 3, and are “used for shredding a variety of materials such as

paper, cardboard, plastic film, cloth, webbing, [and] textile fibers of natural and synthetic

material . . . .” Pl. Ex. 17 (453 Patent) at 5; Pl. Ex. 16 (803 Patent) at 17; Def. Ex. 3 (Sturm

Dep.) at 28:17-21, 43:9-23, 135:4-11. The machines are not intended to reduce the size of more

abrasive substances, such as glass, rocks, or material that is highly incinerable. Def. Ex. 3

(Sturm Dep.) at 101:21-102:22; Def. Ex. 4 (Kolbet Dep.) at 24:9-25:13.

   B. Parts And Operation Of The Shredders

          The core part of the machines is the rotor, which is a rotating cylinder located inside the

machine. The rotor is equipped with sharp inserts, called cutters, which are responsible for the

reduction in size of the material fed into the machine. Def. Ex. 3 (Sturm Dep.) at 35:24-36:10,

44:14-22; Pl. Ex. 17 (453 Patent) at 2 (Item No. 12); Pl. Ex. 16 (803 Patent) at 4 (Item No. 12).

The following is a depiction of the rotor and counter knife for the shredder, identified in the 803

Patent.




                                                    5
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Pl. Ex. 16 (803 Patent) at 6. As shown above, the outside of the rotor has both ribs and valleys,

with the ribs protruding out from the rotor, and a valley between each rib. Pl. Ex. 16 (803

Patent) at 6 (Item No. 22, Ribs), 17; Pl. Ex. 17 (453 Patent) at 5; Def. Ex. 3 (Sturm Dep.) at

45:11-46:1. In addition, there is a stationary counter knife, which has teeth that align with the

valley in the rotor. Def. Ex. 16 (803 Patent) at 6 (Item No. 14, Counter Knife; Item No. 24,

Teeth), 17; Pl. Ex. 17 (453 Patent) at 5; Def. Ex. 3 (Sturm Dep.) at 46:2-18. The cutters, which

are called “v-cutters” because they protrude out in the shape of a “v,” are mounted in pockets on

the rib of the rotor; when the rotor spins, they “mesh[]” with the v-shaped recesses in the counter

knife. Pl. Ex. 17 (453 Patent) at 4 (Item No. 30, Cutters), 5; Pl. Ex. 16 (803 Patent) at 6 (Item

No. 30, Cutters; Item No. 26, V-Shaped Recesses), 17. The cutter, however, protrudes out from

the rotor slightly farther than the rib, allowing it to be closer to the counter knife, which will

“assist in . . . the cutting or the size reduction of the material.” Def. Ex. 3 (Sturm Dep.) at 48:19-

50:3; Pl. Ex. 17 (453 Patent) at 4 (Figure 3). In addition to the point, the cutters have two cutting

edges that also interact with the counter knife. Def. Ex. 3 (Sturm Dep.) at 50:9-12, 68:15-69:1;

Pl. Ex. 17 (453 Patent) at 6.




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       There can be more than one cutter on each rib of the rotor, but they are spaced out such

that only one cutter interacts with the counter knife at any given time. Def. Ex. 3 (Sturm Dep.) at

67:17-68:7, 74:12-16. On the VAZ 1600 models, there are between 42 and 74 cutters on the

rotor, Pl. Ex. 1 (VAZ 1300-1600); Def. Ex. 3 (Sturm Dep.) at 149:16-21, and on the VAZ 1800

models, there can be 84 or more cutters. Pl. Ex. 2 (VAZ 1800); Def. Ex. 3 (Sturm Dep.) at

165:25-166:12. The cutters have 4 points so that they can be rotated when the points get dull,

allowing a sharper edge to be used to shred or cut the material. Def. Ex. 10 (Cutters); Def. Ex. 3

(Sturm Dep.) at 79:22-80:8. The sharp cutters allow the machines to break down the material

easier. Def. Ex. 3 (Sturm Dep.) at 55:18-25. The cutters, which are mounted on the spinning

rotor, are responsible for the size reduction of the material being processed through the machine.

Id. at 50:13-16. That is, most of the size reduction occurs when the material being reduced

interacts with the rotor. Id. at 55:18-56:9.




Pl. Ex. 16 (803 Patent) at 4.




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       As shown above, when in use, material is fed, usually by a forklift or similar device, into

what is called the hopper, Pl Ex. 16 (803 Patent) at 3 (Item No. 18, Hopper), 20, and falls onto a

horizontal plate at the bottom of the inside of the machine, referred to as the “cutting chamber.”

Pl. Ex. 16 (803 Patent) at 3 (Item No. 21, Horizontal Plate), 20; Def. Ex. 3 (Sturm Dep.) at

63:23-64:16, 108:22-110:3, 139:6-12; Pl. Ex. 17 (453 Patent) at 2 (Item No. 18, Hopper, Item

No. 20 Hydraulic Ram); Pl. Ex. 1 (VAZ 1300-1600); Def. Ex. 4 (Kolbet Dep.) at 107:2-10. A

hydraulic ram, which plaintiff described as a “mechanical pusher,” “pushes the material towards

the spinning rotor.” Def. Ex. 3 (Sturm Dep.) at 52:16-53:7, 108:22-110:3; Pl. Ex. 17 (453

Patent) at 2 (Item No. 20, Hydraulic Ram); Pl. Ex. 16 (803 Patent) at 3 (Item No. 20, Hydraulic

Ram); Pl. Ex. 1 (VAZ 1300-1600). The purpose of the ram is to get the material close enough to

the rotor, and maintain that position, to allow the spinning rotor to do the work of cutting or

shredding the material. Def. Ex. 3 (Sturm Dep.) at 52:25-53:7; Def. Ex. 4 (Kolbet Dep.) at 63:2-

16. The ram itself never hits the rotor. Def. Ex. 4 (Kolbet Dep.) at 124:16-19. In addition, there

are sensors in the machine that indicate when more material must be fed towards the rotor, and,

alternatively, when the system may be overloaded and require the ram to pull back. Def. Ex. 3

(Sturm Dep.) at 110:17-111:17; Def. Ex. 4 (Kolbet Dep.) at 141:22-143:16.

       Ideally, the ram should not exert much pressure on the rotor, just enough for the rotor to

grab the material. Def. Ex. 3 (Sturm Dep.) at 64:17-66:9, 82:18-83:6; Def. Ex. 5 (Beusse Dep.)

at 115:4-11 (“[A]ll you’re asking the hydraulic ram to do is . . . edge material up to the rotor.”).

Indeed, “[s]ome material is just brought near to the rotor, more or less pressure less” while others

need “a little pressure against the spinning rotor so that it is grabbed.” Pl. Br. at 18 (citing Def.

Ex. 3 (Sturm Dep.) at 65:18-24). Less pressure is required for the rotor to grab the material if the

cutting inserts are newer and sharper. Def. Ex. 3 (Sturm Dep.) at 65:14-66:9, 82:18-23. Ideally,



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pressure would not be applied to the rotor because that would use more energy and would create

heat by friction. Id. The only pressure applied by the ram is to the material to move that

material towards the rotor. Def. Ex. 4 (Kolbet Dep.) at 63:2-16.

       Through the interaction between the rotor and the material, the cutter cuts, shreds or takes

scoops out of the material that is being reduced in size. Def. Ex. 3 (Sturm Dep.) at 35:24-36:10;

56:6-9, 62:1-16; Pl. Ex. 17 (453 Patent) at 5-6; Pl. Ex. 16 (803 Patent) at 17-20. Because the

cutters often take a scoop out of the material, smaller cutters are used to make the end product

smaller. Def. Ex. 3 (Sturm Dep.) at 62:1-16 (“[T]he scoop that pours out of the solid block” or

“natural bite of the cutter” would be smaller with a smaller cutter.); Def. Ex. 4 (Kolbet Dep.) at

57:23-58:14. With respect to the VAZ 1600 and 1800 lines, the smallest and most often used

cutter is the 40 mm cutters. Def. Ex. 3 (Sturm Dep.) at 61:10 to 62:22.

       Once material is reduced to a small enough size, the material would then pass through the

space between the rotor and the counter knife. Pl. Ex. 17 (453 Patent) at 5, 6; Def. Ex. 3 (Sturm

Dep.) at 52:25-53:12. The material that is fed into this space is also “cut” by the cutters as they

mesh with the counter knife and additional size-reduction of the material takes place. Pl. Ex. 17

(453 Patent) at 5, 6; Pl. Ex. 16 (803 Patent) at 17-18, 20; Def. Ex. 4 (Kolbet Dep.) at 76:2-20;

Def. Ex. 5 (Beusse Dep.) at 67:6-17. The patent describes the interaction between the v-cutter

and the counter knife as having a “scissoring” effect because the cutting edge of the cutter has a

concave shape and each part of the cutting edge hits the counter knife at different times so it can

cut like a scissor. Pl. Ex. 17 (453 Patent) at 6; Pl. Ex. 16 (803 Patent) at 18; Def. Ex. 3 (Sturm

Dep.) at 70:2-71:3, Def. Ex. 5 (Beusse Dep.) at 69:19-70:10. Indeed, in its ideal form, when

cutters are sharp, and the cutting tolerance (i.e., the space between the rotor and the counter knife

which is often .01 to .03 inches) remains narrow, material is cut or shred when it passes the



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counter knife. Def. Ex. 4 (Kolbet Dep.) at 78:25-79:10, 174:9-175:21; Def. Ex. 3 (Sturm Dep.)

at 157:4-17; Def. Ex. 5 (Beusse Dep.) at 108:10-22. Like the cutters, the counter knife can be

rotated if it becomes dull. Def. Ex. 3 (Sturm Dep.) at 85:9-18.

        To eliminate stringy or fibrous material wrapping around the rotor, machines can be

equipped with flat cutters. Id. at 56:14-58:8. These flat cutters are the improvement described in

the 453 Patent, invented by Mr. Sturm. Id. at 42:3-7, 56:14-58:14; Pl. Ex. 17 (453 Patent); Def.

Ex. 11 (Film Fiber). Stringy material, or highly flexible tensile plastic material, tends to “wrap

around the rotor in areas where no cuts can take place,” which is in the valleys of the rotors.

Def. Ex. 3 (Sturm Dep.) at 56:14-58:8. Flat cutters can be installed in each of the valleys of the

rotor on either the VAZ 1600 or the VAZ 1800 models. Id. at 147:3-10; Pl. Ex. 17 (453 Patent)

at 6. The flat cutter has a “substantially flat or straight cutting edge . . . that is generally parallel

to the axis of the rotor.” Pl. Ex. 17 (453 Patent) at 6. According to the patent, “the cutting edge

cooperates with a flat or straight end edge . . . of the corresponding tooth of the counter knife to

cut material located between axially adjacent v-cutters.” Id. That is, flat cutters require a special

rotor and corresponding counter knife that has certain flat edges. Def. Ex. 3 (Sturm Dep.) at

41:8-16, 58:15-20. “Any stringy material that may tend to lay in the valleys of the rotor will be

cut by the flat cutters.” Pl. Ex. 17 (453 Patent) at 6; Def. Ex. 3 (Sturm Dep.) at 72:3-12.

Shredding of seatbelts, for example, would benefit from the addition of the flat cutters. Def. Ex.

3 (Sturm Dep.) at 90:25-91:10. Like the v-cutters, the flat cutters can be rotated if an edge

becomes dull. Pl. Ex. 17 (453 Patent) at 6.

        The process for reducing the size of each material can vary slightly depending on the type

of material being reduced. For example, paper is basically ripped apart by the machine. Def. Ex.

3 (Sturm Dep.) at 92:13-20; Pl. Ex. 15 (Letter) at 14. Other materials, like seatbelts, are torn or



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cut, Def. Ex. 4 (Kolbet Dep.) at 184:16-20, and still others, like a bowling ball, are broken or

scooped out by the cutters. Id. at 265:2-22.

       Although not required, there is often a screen surrounding the rotor, which is equipped

with various sized openings, ranging in size from 3/8 inch in diameter to six inches in diameter.

Def. Ex. 3 (Sturm Dep.) at 60:4-24; Pl. Ex. 1 (VAZ 1300-1600) at 3; Pl. Ex. 15 (Letter) at 16-20.

When a screen is used, the material that passes through the space between the rotor and the

counter knife (after the material has been cut/shredded/scooped by the rotor and cut by the

counter knife) has to be small enough to pass through the opening in the screen. Def. Ex. 3

(Sturm Dep.) at 51:9-52:15, 60:4-24; Pl. Ex. 17 (453 Patent) at 5. If the material being reduced

is not small enough to pass through the screen, it would move back to the cutting chamber to be

reduced in size again by the rotor. Def. Ex. 3 (Sturm Dep.) at 51:21-52:15; Pl. Ex. 17 (453

Patent) at 5. The size of the output material that is produced by the machines can vary

depending upon the size of the cutters (40 mm for the VAZ 1600 and either 40 mm or 60 mm for

the VAZ 1800), Def. Ex. 3 (Sturm Dep.) at 149:3-21, 166:9-25, the size of the screens, see

supra, and the variety of material being reduced. See Pl. Ex. 15 (Letter) at 7-14. Typically, the

size of the output material that is produced by the machine after size reduction can vary from 1 to

3 inches, or sometimes larger. Def. Ex. 4 (Kolbet Dep.) at 230:9-22. Because the material is not

pulverized, the identity of the material can often still be determined after the size reduction

process. Def. Ex. 3 (Sturm Dep.) at 87:10-89:12; Pl. Ex. 15 (Letter) at 7-14. And, depending on

the shape of the material, larger pieces can make it through a screen as small as 1 inch. Id.

       When in operation, the rotor in the VAZ 1600 and 1800 lines of machines moves at a low

speed, but with high torque. Def. Ex. 3 (Sturm Dep.) at 131:15-25; Pl. Ex. 1 (VAZ 1300-1600);

Pl. Ex. 2 (VAZ 1800). The low speed is in reference to the speed at which the rotor spins,



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measured in rotations per minute. Def. Ex. 3 (Sturm Dep.) at 131:15-132:11, 149:22-150:1. The

rotation speed of the rotors in the VAZ 1600 and 1800 machines generally does not exceed 200

rpm, with most spinning at approximately 140 rpm. Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ

1800); Def. Ex. 4 (Kolbet Dep.) at 117:2-15. Machines with the high torque drive are adjustable

in terms of speed. Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ 1800); Def. Ex. 3 (Sturm Dep.) at

154:17-155:24. Torque is the force at which the motor turns, and the power of the machine is

equivalent to speed times torque. Def. Ex. 3 (Sturm Dep.) at 131:4-14. The horsepower of the

rotors range from 75-150 Hp for the VAZ 1600 models, and up to 200 Hp for the VAZ 1800

models. Def. Ex. 3 (Sturm Dep.) at 152:15-153:23; Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ

1800). By comparison, the horsepower in the feeding system, or the ram, is 10.2 Hp. Id.

       The low spinning speed of the rotors for the machines makes them more efficient,

meaning the energy is used to reduce the materials using the cutters, rather than to create friction,

which is more common for fast spinning machines. Def. Ex. 3 (Sturm Dep.) at 131:18-25.

Slower spinning rotors, such as the ones at issue, produce more coarse, uniform size output,

which results from the natural bite of the cutters. Id. at 132:1-11, 151:4-12. Therefore, the

purpose of low speed, high torque is to “use the cutters to cut or scoop out material instead of

just shatter something or have the impact . . . .” Id. at 133:5-12. The machines are not intended

to crush material. Id. Powder, either fine or particle size, is not the desired output for the VAZ

1600 and VAZ 1800 lines of machines. Def. Ex. 3 (Sturm Dep.) at 132:12-24; Def. Ex. 4

(Kolbet Dep.) at 186:4-11. The fine materials could cause problems downstream; for example, it

could harm the health and safety of those in contact with the fine materials or the fine materials

could have explosive qualities. Def. Ex. 3 (Sturm Dep.) at 132:12-24.




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         The differences between the VAZ 1600 and the VAZ 1800 lines of machines often relate

to the size of the machine itself. Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ 1800). While both

the VAZ 1600 and the VAZ 1800 lines of machines are capable of reducing the same range of

materials, the VAZ 1800 machines are larger, the opening and volume of the hopper are bigger,

the length and diameter of the rotor are larger (20 inch diameter for the 1800 as compared to 15

inches for most 1600s), and the rotor is equipped with more cutters. Id.; Def. Ex. 3 (Sturm Dep.)

at 164:3-21. Because the rotor is bigger and approximately a third of the rotor is exposed in the

cutting chamber, the VAZ 1800 line of machines offer a larger surface to cut the material as

compared to the VAZ 1600 line of machines. Def. Ex. 3 (Sturm Dep.) at 164:22-165:24.

                                   QUESTION PRESENTED

         The parties agree that the imported shredders are classified under heading 8479, HTSUS,

which covers “[m]achines and mechanical appliances having individual functions, not specified

or included elsewhere in this chapter . . . .” The question before the Court is whether the

imported goods are properly classified under subheading 8479.82.00 as “[o]ther machines and

mechanical appliances: . . . [m]ixing, kneading, crushing, grinding, screening, sifting,

homogenizing, emulsifying or stirring machines,” or whether they are properly classified under

subheading 8479.89.94, HTSUS, which covers, “[o]ther machines and mechanical appliances: . .

. other: . . . other.”

                                 SUMMARY OF ARGUMENT

         Plaintiff claims that the merchandise should be classified in subheading 8479.82.00.

However, to be classified in this provision, plaintiff must show that the principal function of the

imported shredders is either “[m]ixing, kneading, crushing, grinding, screening sifting,




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homogenizing, emulsifying or stirring.” The undisputed facts show that none of these processes

reflect the principal function of the imported machines.

        Because the merchandise is not properly classified in subheading 8479.82.00 (or any

other subheading of heading 8479), the machines must be classified in subheading 8479.89.94,

HTSUS, which covers, “[m]achines and mechanical appliances having individual functions, not

specified or included elsewhere in this chapter; parts thereof; [o]ther machines and mechanical

appliances: . . . other: . . . other.”

                                           ARGUMENT

  I.    SUMMARY JUDGMENT FOR THE GOVERNMENT IS WARRANTED

        The Court reviews classification decisions by Customs de novo through a two-step

analysis. Faus Group, Inc. v. United States, 581 F.3d 1369, 1371 (Fed. Cir. 2009). First, the

Court must determine “the proper meaning of the relevant tariff provisions” – a question of law.

Id. (citing Orlando Food Corp. v. United States, 140 F.3d 1437, 1439 (Fed. Cir. 1998)). Second,

the Court must determine “whether the merchandise at issue falls within a particular tariff

provision as construed” – a question of fact. Id. at 1371-72.

        “This court may resolve a classification issue by means of summary judgment . . . ‘if the

pleadings, depositions, answer to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact . . . .’” Essex Mfg.,

Inc. v. United States, 30 CIT 1, 3 (2006) (quoting USCIT Rule 56(c)). That is, the Court must

determine whether there are any factual disputes that are material to the resolution of the action.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Texas Apparel Co. v. United

States, 698 F. Supp. 932, 934 (Ct. Int’l Trade 1988), aff’d, 883 F.2d 66 (Fed. Cir. 1989), cert.

denied, 493 U.S. 1024 (1990).



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        Because there are no material factual issues in dispute, this case is ripe for summary

judgment.

 II.    THE SUBJECT MERCHANDISE IS NOT PROPERLY CLASSIFIED UNDER
        SUBHEADING 8749.82.00, HTSUS

            A. Interpretive Rules

        In construing the tariff statute, the Court applies the General Rules of Interpretation

(GRIs), which are applied in numerical order, BASF Corp. v. United States, 482 F.3d 1324,

1325-26 (Fed. Cir. 2007), and, if applicable, the Additional U.S. Rules of Interpretation (ARIs).

Id.; Lerner New York, Inc. v. United States, 908 F. Supp. 2d 1313, 1318 (Ct. Int’l Trade 2013).

GRI 1 provides that “classification [under a particular heading] shall be determined according to

the terms of the headings and any relative section or chapter notes . . . .” The HTSUS section

and chapter notes “are not optional interpretive rules,” but instead have the force of statutory

law. Aves. in Leather, Inc. v. United States, 423 F.3d 1326, 1333 (Fed. Cir. 2005) (internal

quotation marks omitted). GRI 6 provides that “the classification of goods in the subheadings of

a heading shall be determined according to the terms of those subheadings and any related

subheading notes . . . .”

            B. The VAZ 1600 And VAZ 1800 Lines Of Industrial Shredders Are Not
               Properly Classified Under Subheading 8749.82.00, HTSUS, Because Their
               Principal Function Is Not “Grinding,” “Crushing” or “Screening”

        The parties agree that the machines are properly classified in heading 8479, HTSUS,

which covers “[m]achines and mechanical appliances having individual functions, not specified

or included elsewhere in this chapter . . . .” Plaintiff claims that the merchandise is properly

classified under subheading 8479.82.00 as “[o]ther machines and mechanical appliances: . . .

[m]ixing, kneading, crushing, grinding, screening, sifting, homogenizing, emulsifying or stirring




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machines.”4 Compl. ¶ 28. Conversely, the Government maintains that the merchandise is

properly classified under subheading 8479.89.94, HTSUS, which covers, “other machines and

mechanical appliances: . . . other: . . . other.”

        Subheading 8479.82.00 enumerates several processes: “[m]ixing, kneading, crushing,

grinding, screening, sifting, homogenizing, emulsifying or stirring.” When considering whether

the imported merchandise should be classified under one of the processes of this subheading, the

tariff requires a consideration of the principal function and the principal purpose of the machine.

        Note 3 to Section XVII provides:

                Unless the context otherwise requires, composite machines
                consisting of two or more machines fitted together to form a whole
                and other machines designed for the purpose of performing two or
                more complementary or alternative functions are to be classified as
                if consisting only of that component or as being that machine
                which performs the principal function.

Id.

        Similarly, Note 7 to Chapter 84 provides that “a machine which is used for more than one

purpose is, for the purpose of classification, to be treated as if its principal purpose were its sole

purpose.”

        Plaintiff alleges that the primary function of the imported shredders is “crushing,”

“grinding,” or “screening.” Pl. Br. at 3, 13. The tariff statute does not define these terms. When

the statute leaves terms undefined, the terms “are construed according to their common [and]

commercial meanings.” BenQ Am. Corp. v. United States, 646 F.3d 1371, 1376 (Fed. Cir. 2011)

(internal quotation marks omitted). To ascertain the “common and commercial meanings” of a



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 Plaintiff does not contend that the function of the machines is either “[m]ixing,” “kneading,”
“sifting,” “homogenizing,” “emulsifying” or “stirring.” We agree that these terms do not
describe the function of the machines and, therefore, do not further discuss these terms of the
HTSUS.
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particular tariff term, the Court “may rely on its own understanding of the term as well as upon

lexicographic and scientific authorities.” Len-Ron Mfg. Co., Inc. v. United States, 334 F.3d

1304, 1309 (Fed. Cir. 2003). That is, the “court may consult dictionaries, scientific authorities,

and other reliable information sources.” Warner-Lambert Co. v. United States, 407 F.3d 1207,

1209 (Fed. Cir. 2005).

       We set forth the common meaning of each of these terms below. The undisputed facts

show that the principal function of the imported shredders is not reflected by “crushing,”

“grinding,” or “screening” or any of the processes enumerated under subheading 8479.82.00.

Therefore, the merchandise is properly classified under subheading 8479.89.94.

                     1. The Machines Are Not “Grinding” Machines

       The Merriam-Webster Dictionary defines the verb “grind” as “1: to reduce to powder or

small fragments by friction . . . 2: to wear down, polish, or sharpen by friction . . . .” Def. Ex. 12

(Merriam-Webster Online Dictionary) at 30. Similarly, the Cambridge Dictionary defines

“grind” as “to make something into small pieces or a powder by pressing between hard surfaces .

. . .” Def. Ex. 13 (Cambridge Dictionary) at 31; see also Def. Ex. 14 (Collins Dictionary) at 21

(defining “grind” as meaning to “crush . . . between two hard surfaces or with a machine until it

becomes a fine powder” or to “press and rub it hard into the surface using small circular or

sideways movements” as with a cigarette); Def. Ex. 15 (Macmillan Dictionary) at 2 (defining

“grind” as “to break something into very small pieces or powder, by using a machine or by

crushing it between two hard surfaces”); Def. Ex. 16 (The RandomHouse College Dictionary

581 (1972) (“1. to wear, smooth, or sharpen by abrasion or friction . . . 2. to reduce to fine

particles, as by pounding or crushing; to pulverize.”)). The term “particle” is defined as “1a: a

minute quantity or fragment, b: a relatively small or the smallest discrete portion or amount of



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something,” Def. Ex. 12 (Merriam-Webster Online Dictionary) at 40, or “an extremely small

piece of something such as dust, dirt, or sand.” Def. Ex. 13 (Cambridge Dictionary) at 42.

Consistent throughout these definitions is both a description of the process, characterized by the

use of pressure, force or friction between hard surfaces, and the end result or output material

from the “grinding” process, described as material broken down into very small pieces, particles

or powder.

       The definitions of “grind” cited by plaintiff are consistent with the ones cited above. See

Pl. Br. at 6-7. For example, plaintiff references the American Heritage Dictionary of the English

Language (1975), which defines “grind” as “1. a. to crush, pulverize, or powder with friction,

especially by rubbing between two hard surfaces . . . . b. To shape, sharpen, or refine with

friction . . . . 2. To rub (two surfaces) together; gnash . . . 3. To bear down on harshly; crush.” Pl.

Br. at 6; Pl. Ex. 3 (Am. Heritage Dictionary of the English Language 579-80 (1975)). Citing the

same dictionary, plaintiff notes that “grind” is synonymous with “pulverize,” which is defined as

“To pound, crush or grind to powder or dust.” Pl. Br. at 6-7; Pl. Ex. 3 (Am. Heritage Dictionary

of the English Language 1059). Plaintiff further cites Webster’s New World Dictionary, Third

College Edition, which defines the term “grind” as “to crush into bits or fine particles between

two hard surfaces; pulverize.” Pl. Br. at 7; Pl. Ex. 3 (Webster’s New World Dictionary 594

(1988)).

       Under either parties’ definition of this term, the machines at issue do not “grind,” for two

reasons. First, the processing of material through the imported shredders does not use pressure,

force or friction to cut the material. Indeed, aside from reference to “friction,” which results

from stringy material wrapping around the rotor, Pl. Ex. 17 (453 Patent) at 5, 6, a problem

alleviated by the 453 Patent with invention of the flat cutters, neither of the patents use the



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phrases force or pressure or friction in describing the operation of the machines. Pl. Ex. 17 (453

Patent); Pl. Ex. 16 (803 Patent). Further, plaintiff testified (through its designated agent Mr.

Kolbet) that the only pressure exerted within the machine is when the ram moves material

towards the rotor, Def. Ex. 4 (Kolbet Dep.) at 63:2-16; see also Def. Ex. 3 (Sturm Dep.) at

64:17-66:9, 82:18-83:6; Def. Ex. 5 (Beusse Dep.) at 115:4-11. Plaintiff also testified that the

ram is not intended to push the material against the rotor such that it exerts pressure on the rotor.

Def. Ex. 3 (Sturm Dep.) at 64:17-66:9. The ram is supposed to move the material that is dropped

into the cutting chamber closer to the rotating rotor (and cutting inserts), id. at 52:25-53:7; Def.

Ex. 4 (Kolbet Dep.) at 63:2-16, so that the rotor can act upon the material, first by being cut,

shred, or scooped out by the cutters, and then through the interaction between the rotor and the

counter knife as material passes through the narrow space between them. Def. Ex. 3 (Sturm

Dep.) at 35:24-36:10; 56:6-9; 62:1-16; Pl. Ex. 17 (453 Patent) at 5-6; Pl. Ex. 16 (803 Patent) at

17-20; Def. Ex. 4 (Kolbet Dep.) at 76:2-20; Def. Ex. 5 (Beusse Dep.) at 67:6-17. The machines

specifically do not operate by using friction; instead, the low speed, high torque machines

operate by allowing the cutters to reduce the material. Def. Ex. 3 (Sturm Dep.) at 131:18-25.

       Moreover, neither the patents nor the product brochures indicate that the machine’s

operation involves the rubbing of hard surfaces. Pl. Ex. 17 (453 Patent); Pl. Ex. 16 (803 Patent);

Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ 1800). Additionally, Vecoplan does not describe the

function of the imported machines as the rubbing of hard surfaces, either through the testimony

of its designated agent or within its brief. Therefore, the terms “grind” or “grinding” do not

accurately describe the process performed by the imported shredders.

       Second, as reflected in the definitions above, the process of “grinding” results in powder,

particles or very small pieces or material, and the size of the material being produced by the



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imported machines cannot be described as powder, particles or very small pieces. The

definitions advanced by plaintiff define “grind” as to pulverize, which means to reduce to

powder or dust. This is not what occurs to the material that is being shredded through the

imported machines. In fact, Vecoplan witnesses indicated that the size of the end product

produced by the imported merchandise is often between 1 to 3 inches, or more, and the witnesses

testified that the machines at issue do not pulverize the material. See e.g., Def. Ex. 4 (Kolbet

Dep.) at 230:9-22; Def. Ex. 3 (Sturm Dep.) at 87:10-89:12; Pl. Ex. 15 (Letter) at 7-14. Indeed, it

is not the goal of the machines at issue to reduce the size of the material to powder. Def. Ex. 3

(Sturm Dep.) at 132:12-24; Def. Ex. 4 (Kolbet Dep.) at 186:4-11. As Mr. Sturm testified,

powder-like material could cause problems both for the machine and for the health and safety of

those operating the machine and could have explosive qualities. Def. Ex. 3 (Sturm Dep.),

132:12-24.

       It is a different machine, a granulator, with a faster spinning rotor, that may be capable of

reducing the material to small, powder or pellet-like pieces. Id. at 132:1-11, 135:23-136:14; Def.

Ex. 4 (Kolbet Dep.) at 101:5-102:19, 234:7-235:21; Def. Ex. 5 (Beusse Dep.) at 135:18-136:13,

137:5-25. Faster spinning rotors (often equipped with blades not cutters), can spin as fast as

1200 or 1800 rpm. Def. Ex. 3 (Sturm Dep.) at 135:23-136:1, 151:18-24; Def. Ex. 4 (Kolbet

Dep.) at 234:7-235:21. These fast spinning machines operate differently and produce more

“fine” materials. Def. Ex. 3 (Sturm Dep.) at 132:1-11, 136:2-14. Indeed, a granulator can

produce powder or pellet size material, which can range from 1/8 inch to an inch; and, a

granulator can be used for the secondary reduction of the material after it is initially reduced by

the shredder. Id. at 132:1-11, 135:23-136:14; Def. Ex. 4 (Kolbet Dep.) at 101:5-102:19, 234:7-

235:21; Def. Ex. 5 (Beusse Dep.) at 135:18-136:13, 137:5-25. Again, powder, either fine or



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particle size, is not the desired output for the VAZ 1600 and VAZ 1800. Def. Ex. 3 (Sturm Dep.)

at 132:12-24; Def. Ex. 4 (Kolbet Dep.) at 186:4-11.

        Instead of “grinding,” the principal function of the machine is to reduce material to a

particular and consistent size through shredding or cutting. The verb to “cut” is defined, in

relevant part, as “1 a : to penetrate with or as if with an edged instrument . . . c : to strike sharply

with a cutting effect . . . .3 b (1) ; to divide into parts with an edged tool.” Def. Ex. 12 (Merriam-

Webster Online Dictionary) at 13-14. Similarly, the Cambridge Dictionary defines to “cut” as

“to break the surface of something, or to divide or make smaller, using a sharp tool, especially a

knife.” Def. Ex. 13 (Cambridge Dictionary) at 9. Shred is defined as “to cut or tear into shreds,”

or long narrow strip. Def. Ex. 12 (Merriam-Webster Online Dictionary) at 58-59; see also W.R.

Grace & Co. v. United States, 19 C.C.P.A. 326, 329 (1932) (applying two dictionaries that

define the term “shred” as “to tear, cut or separate into small irregular or jagged strips or pieces;

reduce to long and narrow fragments, as fibrous material” and “to cut or tear into small pieces;

also, to cut or tear pieces from . . . .” (emphasis in original)).

        Plainly, the principal function of the machines can be described as cutting or shredding,

as those terms are defined by their common meaning, and as the operation of the machines is

characterized throughout the relevant patents, and by Vecoplan. See Pl. Ex. 1 (VAZ 1300-1600);

Pl. Ex. 2 (VAZ 1800); Pl. Ex. 17 (453 Patent); Pl. Ex. 16 (803 Patent). Indeed, the machines at

issue uses an edged instrument, a cutter, to penetrate and divide the material into coarse pieces.

That cutter also interacts with the counter knife to further cut the material when it passes through

the space between them. See supra at 5-13. The operation of the machine can plainly be

characterized as cutting. Moreover, the material reduced in the shredder is also cut, ripped or

torn into small pieces, similarly satisfying the definition of shredding.



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       Plaintiff argues that shredding does not properly identify the functioning of the machines.

See e.g., Pl. Br. at 16-17, 21-22. In reaching that conclusion, plaintiff’s witnesses compared the

machine at issue to a different machine that they considered a “conventional shredder,” Def. Ex.

5 (Kolbet Dep.) at 165:7-166:1, Def. Ex. 5 (Beusse Dep.) at 32:20-33:21; see also Pl. Br. at 22.

Mr. Kolbet, as a result, defined the term “shredding” as involving a “cutting action that takes a

starting material and reduces it to small thin strips via the action of two cutting blades or surfaces

which act in tandem . . . to cut the material into defined edges along the cutting surface such that

a clear line can be observed along the edges of the resulting strip.” Def. Ex. 5 (Kolbet Dep.) at

160:22-161:21. Shredding, however, is not limited to plaintiff’s narrow definition. See supra at

20. Therefore, any conclusion by plaintiff that the machines do not shred is not supported by the

plain meaning of the term.

       That the term “grind” and “ground” each appear one time in each of the patents does not

support the conclusion that the principal function of the machines is “grinding.” Pl. Br. at 24.

The 453 Patent and the 803 Patent describe the operation of the machines as cutting or shredding

in many more instances. Pl. Ex. 17 (453 Patent), Pl. Ex. 16 (803 Patent). Indeed, in comparison

to the single mention of the terms “grind” and “ground,” the terms

shred/shredder/shredding/shredded appear 44 times in the 453 Patent and 56 times in the 803

Patent. And the terms cutter/cutting/cut/cutting edge/cutting vertex appear 161 times in the 453

Patent and 346 times in the 803 Patent. Id.

       Therefore, with respect to the machines at issue, neither the function of the machine, nor

the size of the material that is produced by the machine, are reflective of the process of

“grinding.”




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                     2. Plaintiff’s Interpretation Of The Term “Grinding” Is Unpersuasive

       Plaintiff argues that the common meaning of “grinding” includes all (or most) processes

used to reduce the size of material and covers all sizes of the output material that result from

those methods. Pl. Br. at 5-6, 10-11. Specifically, plaintiff erroneously concludes that “a grinder

is a machine that breaks input material into relatively smaller ‘bits or fine particles.’” Pl. Br. at

7. This analysis is broader than the common meaning reflected in the dictionaries and is,

therefore, unavailing.5

       In support of its analysis, plaintiff references United States v. Colonial Commerce Co., 44

CCPA 18 (1956) and Crown Cork & Seal Co., Inc. v. United States, 65 Cust. Ct. 483 (1970), two

non-binding decisions that interpret the term “ground” found in the statutes preceding the current

tariff code. These decisions do not depart from the common meaning of terms discuss above.

       The Court in Colonial Commerce, for example, analyzed Paragraph 781 of the Tariff Act

of 1930, which covered “spices and spice seeds,” to determine whether imports of sage were in

the state of being “ground.” First, the Court concluded that the determination should include

consideration of not only the fineness of the resulting particle, but the process that reduced the

size of the material. Id. at 19-20. The Court held that “grinding is necessarily a physical process

involving the application of friction, or crushing, to the material at hand” and that it could cover

a “variety of processes by which materials are divided up into relatively small particles.”

Colonial Commerce, 44 C.C.P.A. at 20 (emphasis added); see Pl. Br. at 5-6. We agree with this

description, but this description cannot be interpreted to cover every process that divides material



5
  The definition put forward by plaintiff’s designated agent, Mr. Kolbet, is similarly overbroad in
that it defines “grinding” as reducing “the size of a piece of material to a smaller size, size
reduction, like crushing or scooping . . . to reduce the size of that material.” Def. Ex. 4 (Kolbet
Dep.) at 57:13-22. He further states that ripping may also be included within this definition. Id.
at 151:9-152:18.
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into small particles. And nothing in the Court’s decision indicates that it intended for that type of

broad interpretation. To be sure, the Colonial Commerce Court clarified (1) that, as it pertains to

an earlier decision of the Court, the term “ground” means material “reduced to a fine condition

or powder by crushing and friction,” and (2) that the earlier decision “d[id] not hold that a finely

divided powder produced in any way whatever is to be considered ground.” Colonial

Commerce, 44 C.C.P.A. at 20 (emphasis added). That Court observed, for example, that powder

resulting from “precipitation” cannot be considered “ground.” Id. The “variety of processes”

that can result in material being “ground,” then, is necessarily limited. Id.

       Our interpretation of the term “grind” is therefore consistent with the holding in Colonial

Commerce. The sage had gone through a “frictional or rubbing process,” id. at 21, during which

the sage was forced through wire openings that were 1/8 inch in diameter. Id. at 19. As the

Court noted, “there is nothing in the nature of the process” that precluded classification of the

material as “ground sage”; indeed, it involved the necessary “friction, or crushing.” Id. at 20-21.

Our interpretation of the term is further consistent with the Court’s holding that the coarse sage

was small enough to be considered “ground.” Although the Court refrained from setting a

specific size limitation for material that has been “ground,” the definitions discussed both by the

Court Colonel Commerce and by our brief “contemplate reduction to small particles or to

powder.” Id. at 21 (emphasis in original). And a “particle,” which is a “minute fragment”

comparable to “dust, dirt or sand,” see supra at 18, describes material fitting into 1/8 inch

diameter opening. The analysis in Colonel Commerce, therefore, does not support plaintiff’s

broad interpretation of the term “grinding.”

       Turning to Crown Cork & Seal, in that case, the Customs Court reviewed the tariff

classification of “irregular shaped cork particles of various sizes . . . generally of one-half inch in



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the longest linear dimension.” Crown Cork & Seal, 65 Cust. Ct. at 484. The Court considered

whether the merchandise should be classified as “cork, granulated or ground” under item 220.10

or 220.15 of the Tariff Schedule of the United States (another predecessor statute to the current

tariff code). Id.

        In interpreting the term “ground” from item 220.15, the Court considered the process by

which the cork was reduced in size. The process was called “breaking,” and it involved “a ‘bale

breaker’ with swinging hammers and grate bar at the bottom.” Id. at 487. The “swinging

hammers hit a striking bar, and the cork, and they in turn cut it or reduce it in size and at the

same time, by using a swinging hammer mill you continually are bouncing off of this cork and

loosening the hardback and bark from it . . .” Id. Citing Colonel Commerce, that Court held that

“grinding” “is broad enough to cover a variety of processes by which materials are divided into

relatively small particles,” and then included “breaking, crushing, cutting or pulverizing.” Id. at

496. The Court, however, also noted that “grinding” was “a physical process involving the

application of friction, or crushing,” necessarily limiting the “grinding” process to those

involving “friction, or crushing.” Id. at 495. Our interpretation of the term “grind” is consistent

with the Court’s interpretation of the term “ground” in Crown Cork & Seal. The imported cork

in Crown Cork & Seal was reduced in size using swinging hammers and a grate bar and the end

product resulted in, at most, half inch pieces of cork. Although the Court found this product to

be “ground,” the Court did not interpret the process of “grinding” to include every process of

size reduction, or every size of output material that results from that reduction process.

        Plaintiff then argues that no distinctions should be drawn among the processes of cutting,

tearing/tearing/shredding and “crushing” or “grinding”. Pl. Br. at 10. The distinctions between

the processes, however, are apparent from the common meaning of those terms. See BenQ Am.



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Corp., 646 F.3d at 1376; Len-Ron Mfg. Co., Inc, 334 F.3d at 1309. The process of “grinding”

reduces the size of material through force, pressure or friction. The process of “crushing,” on the

other hand, reduces the size of material by squeezing or pressing the material together to destroy

its shape. See infra at 28-28. “Grinding” and “crushing” are distinct processes from one

another, as are cutting and shredding, see supra at 20-21. That the dictionary definitions for

these terms do not specifically say that they are distinguishable amongst themselves does not

mean the terms are synonymous.6

       Finally, plaintiff has submitted printouts from websites, Pl. Br. at 11-12 & Exs. 5-10,

purporting to show machines called “grinders,” that include cutting surfaces. As a threshold

matter, the Court should disregard this material as plaintiff has failed to show that these websites

or information can be presented in a form that would be admissible in evidence. See USCIT

Rule 56(c)(2) (describing when a party may object for a fact not being supported by admissible

evidence). Plaintiff has failed to put forward a witness with personal knowledge of these

machines that could lay the necessary evidentiary foundation for this information. But even if

the Court were to consider the machines from the internet in its analysis, these machines do not

support plaintiff’s interpretation of the disputed tariff terms. First, that a cutting edge is found

within a machine does not establish that machine performs the process of “grinding,” nor does it

exclude the machine from being considered a “grinding” machine. Rather, plaintiff must show

how the cutting edges perform the process of “grinding,” as interpreted by the common meaning

of that term. And again, there is no information on the record of this case, presented in a form

that would be admissible, that establishes how these machines operate. Specifically, it is not

clear if the machines use friction, force or pressure to reduce the size of material, or if the output


6
 Plaintiff’s designated agent testified that the terms are “interchangeable.” Pl. Br. at 24. But the
common meaning of the terms, as defined by dictionaries, shows that view to be erroneous.
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material from that process is of any particular size, all of which must be considered. Second, the

commercial name for the machines – “grinders” – does not reveal or establish the principal

function of a machine.

        Therefore, plaintiff’s overly broad interpretation of the term “grinding” that includes all

(or most) processes used to reduce the size of material and covers all sizes of the output material

that result from those methods is without support.

                      3. The Machines Are Not “Crushing” Machines

        Like “grinding,” the imported shredders do not perform the function of “crushing.” The

Merriam-Webster Dictionary defines “crush” as “1a: to squeeze or force by pressure so as to

alter or destroy structure . . . b: to squeeze together into a mass . . . 2: to reduce to particles by

pounding or grinding.” Def. Ex. 12 (Merriam-Webster Online Dictionary) at 3. Similarly, the

Cambridge Dictionary defines “crush” as “to press something very hard so that it is broken or its

shape is destroyed.” Def. Ex. 13 (Cambridge Dictionary) at 1; see also Def. Ex. 14 (Collins

Dictionary) at 3 (defining “crush” as “to press it very hard so that its shape is destroyed or so that

it breaks into pieces”). Like “grind,” force and pressure are necessary to “crush” material, but

during “crushing,” that force or pressure is used to squeeze the material together to reduce it to

particles (destroying its shape) or to create a mass of material. As with “grinding,” neither the

function of the imported machines, nor the size of the output material that is produced by the

imported machines, are reflective of the process of “crushing.” Indeed, the function of the

imported machines does not involve the squeezing of material between two opposing bodies or

the exertion of “very hard” pressure to alter or destroy the material. While the machines may

destroy the shape of the material being processed, they neither “crush” pieces of the material

together, nor do they reduce the material to particles, as is anticipated by the common meaning



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of the term “crush.” Moreover, the relevant patents never describe the function of the machines

as “crushing.” Pl. Ex. 17 (453 Patent); Pl. Ex. 16 (803 Patent). Therefore, like “grinding,”

“crushing” does not describe the operation of the machines.

       The dictionary definitions of the term “crush” or “crushing” within plaintiff’s briefing are

consistent with the definitions cited herein. See Pl. Br. at 7 (citing the definition of “crush” from

The American Heritage Dictionary of the English Language as “[t]o press between opposing

bodies so as to break or injure; mash; squeeze. 2. To break, pound, or grind . . . into small

fragments or powder.”). However, plaintiff fails to properly apply these definitions. Instead, it

applies a definition that uses the terms “impact and shatter,” Pl. Br. at 7, as defined by Mr.

Beusse. Def. Ex. 5 (Beusse Dep.) at 129:12-130:9. Consequently, like “grinding,” plaintiff’s

interpretation of “crushing” is inconsistent with the plain meaning of the relevant terms.

       Plaintiff further argues that “[g]rinding and crushing are related in that the purpose of

both is to reduce the size of the input material.” Pl. Br. at 7. Indeed, throughout the brief,

plaintiff interprets “grinding” and “crushing” in the same manner – to mean, essentially, size

reduction. Plaintiff states that the definitions for the relevant terms “reflect the common

meaning that crushing and grinding machines are a general category of equipment that demolish

input by applying a harsh force to break them to relatively small fragment, bits or particles.” Pl.

Br. at 8. Plaintiff then identifies the range of possible mechanisms of reduction including

“friction, abrasion, crushing force, pounding, pulverizing or other means as in, but not limited to,

a mill, or mortar, or with teeth.” Pl. Br. at 8 (emphasis added). However, “grinding” and

“crushing” are separate tariff terms that reflect separate operations. And, the fact that Congress

chose the terms “grinding” and “crushing” for the tariff statute instead of the more general

phrase “size-reduction” shows that Congress intended for those terms to have different



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meanings. It is a settled rule of statutory interpretation that, “[w]hen interpreting HTSUS

provisions, we must strive to give effect to every word in the statutory text.” Deckers Outdoor

Corp. v. United States, 714 F.3d 1363, 1371 (Fed. Cir. 2013); see also Marx v. General. Revenue

Corp., 567 U.S. 371, 386 (2013) (explaining that “the canon against surplusage is strongest when

an interpretation would render superfluous another part of the same statutory scheme”). Plaintiff

violates this rule by interpreting the terms in the same manner.

                     4. “Screening” Is Not The Principal Function Of The Machines

       Finally, while the machines may screen material, that function is not the principal

function of the machines because the “screening” function is ancillary to the shredding or cutting

process that reduces the size of the material during the operation of the machines. The Merriam

Webster Dictionary defines the verb “screen” or “screening” as “3a: to pass (something such as

coal, gravel, or ashes) through a screen to separate the fine parts from the coarse . . . b(1): to

examine usually methodically in order to make a separation into different groups (2): to select or

eliminate by a screening process . . . .” Def. Ex. 12 (Merriam-Webster Online Dictionary) at 49-

50. Similarly, Collins Dictionary defines to “screen” as “14. to separate, conceal, shelter, or

protect, with or as with a screen” or “16. to sift through a coarse mesh so as to separate finer

from coarser parts.” Def. Ex. 14 (Collins Dictionary) at 42. Here, although screens are often

installed in the machines to separate the material by size, and this separation process can be

described as “screening,” the principal function of the machine is not the act of “screening.” The

principal function of the machine is to reduce material to a particular and consistent size through

shredding or cutting, and the function of the screen is to sort and separate material and return

larger pieces to the cutting chamber for further size reduction until such time as the material can

pass through the screen openings.



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                     5. The Rule Of Commercial Designation Does Not Apply To This Case

       Finally, plaintiff appears to claim that the Government is making a “commercial

designation” argument by defining the terms “grinding” and “crushing” by reference to

lexicographic sources. Pl. Br. at 12-13. Not so. The rule of commercial designation applies

when a party “argues that a term in the tariff should not be given its common or dictionary

meaning.” Rohm & Haas Co. v. United States, 727 F.2d 1095, 1097 (Fed. Cir. 1984)). In that

instance, the party “must prove that there is a different commercial meaning in existence which

is definite, uniform, and general throughout the trade” – i.e., that the product has a particular

“commercial designation.” Id. The Government has established herein the common and

commercial meaning of “grinding” and “crushing.” To the extent plaintiff is seeking to have this

Court apply a definition that is different from the common meaning, the burden of establishing a

different “commercial designation” belongs to plaintiff.

                                          *       *       *

       Because the principal function of the VAZ 1600 and the VAZ 1800 machines is not

“grinding,” “crushing,” “screening,” as plaintiff contends, nor is the principal function “mixing,

kneading,” “sifting, homogenizing, emulsifying or stirring,” the merchandise is not properly

classified under subheading 8749.82.00.

           C. Plaintiff’s Application Of The Tariff Statute Is Unpersuasive

       Plaintiff errs in its application of the terms “grinding” and “crushing” to the function of

the imported merchandise. Although the parties appear to agree generally on the mechanical

operation of the machine, see Pl. Br. at 14-20, the machines at issue do not “crush” or “grind,” as

those terms are defined, and the principal function is not “screening,” as established above.

Plaintiff’s attempts to claim otherwise, or discount the arguments made herein, are unpersuasive.



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        As a threshold matter, plaintiff asserts that the operation of the machine can be

characterized using the statutory terms “grinding,” “crushing,” or “screening,” and describes the

operation of the machines using a host of other terms. See Pl. Br. at 13-23.7          Plaintiff further

concludes that “the VAZ 1600 and VAZ 1800 are machines that crush, grind, and screen as their

primary functions . . . .” Pl. Br. at 13; see Pl. Br. at 23 (noting that “these machines perform

crushing, grinding, and screening functions . . .”). Plaintiff’s conclusion that many of the listed

functions are the primary or principal functions of the machines is not a proper application of the

statute and is likewise not supported in the record. Plaintiff has not established – nor can it – that

any of the individual terms listed in subheading 8479.82.00 describe the operation of the

machine, and further has not established that any of those individual terms describe the

machines’ principal function. See Note 3 to Section XVII; Note 7 to Chapter 84.

        Specifically with respect to the term “grind,” plaintiff fails to identify any evidence of the

use of pressure, force or friction in the operation of the machines. To the contrary, its own

witnesses testified that the only pressure exerted by the ram was to push that material towards the

rotor. See supra at 8-9. Moreover, the only action of the machines identified by plaintiff that

involves pressure or friction was when, in certain circumstances, the material hits against the

screen after passing through the space between the rotor and the counter knife. Pl. Br. at 20.

This, plaintiff contends, occurs when material that passes through the space between the rotor



7
 See e.g., Pl. Br. at 14 (The machines “perform crushing, grinding, and screening functions.”);
Pl. Br. at 16-17 (citing Mr. Kolbet’s testimony, describing the action of the machines as
“impacting [the material], breaking it, crushing [and] scooping,” but also noting that there is
“some shredding” “some cutting” as well as “grinding and crushing”); Pl. Br. at 17 (citing Mr.
Sturm’s testimony describing cutting or scooping); Pl. Br. at 18 (describing a process of
“impacting, breaking, crushing, and scooping” materials); Pl. Br. at 19 (describing the process as
“breaking, crushing or scooping,” and later citing Mr. Sturm’s testimony which described the
process as “shredding or cutting or size reduction . . . or grinding” ); Pl. Br. at 20 (stating that the
“machines break and demolish input material.”)
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and counter knife is not small enough to pass through the screen, but cannot make it back to the

cutting chamber for further size reduction. Pl. Br. at 20; Def. Ex. 3 (Kolbet Dep.) at 84:25-87:1.

Even assuming, for this argument, that the material that does not make it back to the cutting

chamber can hit or grind against the screen in some instances, Mr. Gary Kolbet, Vecoplan’s Vice

President of Engineering, testified that this is not the ideal functioning of the machine. Def. Ex.

3 (Kolbet Dep.) at 84:25-87:1. He characterized it, instead, as a “bi process.” Id. Undoubtedly,

this “bi process” does not make “grinding” the principal function of the machines.

       Moreover, as set forth above, the material that is the output of the machine cannot be

considered “ground” material. Although plaintiff acknowledges that the output of the “grinding”

process should be particle size material, see e.g., Pl. Br. at 7, 8, plaintiff improperly defines the

term “particle” to include all “relatively small pieces” or “relatively smaller pieces.” Pl. Br.at

20; 21, 29. See Def. Ex. 4 (Kolbet Dep.) at 187:5-188:2 (defining “particle” to include “any

smaller pieces of material,” or whatever “comes out of the machines as the product,” and “not

necessarily” something powder-like); Def. Ex. 5 (Beusse Dep.) at 113:8-12 (defining “particle”

as “whatever the output is of the machine.”) The output material that results from the “grinding”

process is a particle – which is defined as extremely small pieces or powder. See supra at 17-18.

The imported merchandise is not intended to produce material the size of powder. Indeed, the

openings in the screens fitted on the machine can be as large as 6 inches in diameter, Pl. Ex. 1

(VAZ 1300-1600) at 3; Pl. Ex. 15 (Letter) at 16-20, and the material that is the output of the

process can range from 1 to 3 inches or more. Pl. Ex. 15 (Letter) at 7-14; Def. Ex. 4 (Kolbet

Dep.) at 230:9-22

       The examples below are vinyl flooring and seatbelts that have been reduced in size by the

machines at issue. Pl. Ex. 15 (Letter) at 11, 13.



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Id. Although plaintiff considers the above samples crushed or ground, this conclusion is wrong.

Pl. Br. at 21. Indeed, the material depicted above cannot be considered powder or particle size;

nor can the pieces be described as “very small.” As stated above, the machines at issue are

meant to reduce the size of various materials, including: “paper, cardboard, plastic film, cloth,

webbing, [and] textile fibers of natural and synthetic material.” Pl. Ex. 17 (453 Patent) at 5; Pl.

Ex. 16 (803 Patent) at 17; Def. Ex. 3 (Sturm Dep.) at 28:17-21; 43:9-18, 135:4-11; Def. Ex. 1

(Rogs) at 3. Most, if not all, of those materials are not reduced to powder or particles by the

machines at issue. See Pl. Ex. 15 (Letter) at 7-14.

       With respect to whether the principal function of the machines is “crushing,” plaintiff

fails to show how the machines use pressure or force to squeeze the material between hard

surfaces such that it is condensed or destroyed. That is not how the machines operate and,

therefore, plaintiff has failed to show that the material that is produced by the imported machines

is crushed.

       Mr. Beusse, a former Managing Director and Chief Operating Officer for Vecoplan,

defined “crush,” as “impact and shatter.” Pl. Br. at 7-8; Def. Ex. 5 (Beusse Dep.) at 129:12-

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130:9. Mr. Kolbet similarly defines the term “crush” with the term “impact,” describing the

interaction of the material with the cutters. Def. Ex. 4 (Kolbet Dep.) at 58:15-59:14. Plaintiff

notes, that the “rotating shaft . . . [interacts] harshly with the input material causing it to break

into small pieces.” Pl. Br. at 18. However, neither plaintiff’s definition, “impact and shatter,”

nor the process plaintiff describes, a harsh interaction with the material being reduced, establish

that “crushing” is the machine’s principal function. Indeed, plaintiff acknowledges that the

description of “impact and shatter” only applies to hard material, Def. Ex. 5 (Beusse Dep.) at

129:12-130:9, but the machines at issue are meant to process a range of materials (many of

which are not hard). See e.g. Pl. Br. at 22 (noting that the vinyl flooring, which plaintiff claims

should have been “cut or sheared,” were “torn.”); Pl. Br. at 22 (noting that newspaper was

similarly “torn.”) Moreover, as Mr. Sturm testified, the purpose of the low speed, high torque

machine is to “use the cutters to cut or scoop out material instead of just shatter something or

have the impact . . . .” Def. Ex. 3 (Sturm Dep.) at 133:5-12. He specifically agreed that the goal

is not to crush material. Id. This testimony shows that “crushing” is not the principal function of

the machines.

        Plaintiff further contends that name of the product is irrelevant. Pl. Br. at 13. Although

we do not rely, as plaintiff asserts, on the naming of the product in support of our argument, Pl.

Br. at 23, the description of the merchandise in marketing literature and other commercial

documents, while not dispositive, is probative of its function. Indeed, plaintiff refers to these

machines as “shredders” in its brochures, Pl. Ex. 1 (VAZ 1300-1600); Pl. Ex. 2 (VAZ 1800); see

also Def. Ex. 5 (Beusse Dep.) at 150:4-151:19, calls the machine a “shredder” in the application

to the U.S. Patent and trademark office (and resulting patent), and has used that name for the past

twenty years. see Pl. Ex. 17 (453 Patent); Pl. Ex. 16 (803 Patent); Def. Ex. 7 (Patent Application



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Publication). Moreover, contrary to plaintiff claims that it is only called a “shredder” when

marketed to the plastics industry, Pl. Br. at 25, the imported merchandise is referred to as a

“shredder” across industries, as the name “shredder” is used in Vecoplan’s general brochure. Pl.

Ex. 1 (VAZ 1300-1600); Def. Ex. 5 (Beusse Dep.) at 150:4-151:19. Moreover, the name is not

only used by Vecoplan, but throughout the industry. Def. Ex. 5 (Beusse Dep.) at 133:19-23.

       That said, as set forth above, when demonstrating the appropriate classification of the

merchandise, as is required by the terms of the tariff statute, we focus on the function of the

machines, rather than its name. See supra at 15-30. To be sure, cutting and shredding properly

characterize the operation of the merchandise at issue and “grinding” and “crushing” do not. See

supra at 21.

           D. The German Version Of The Harmonized System Should Not Be Considered

       Vecoplan references the Harmonized System (“HS”) and asks the Court to consider the

German language version of the European Union’s implementation of the HS when making its

decision. Pl. Br. at 29-30. The Court should reject this request for a number of reasons. As a

threshold matter, the official languages of the World Customs Organization (“WCO”), which

develops the Harmonized Commodity Description and Coding System, known as the HS, are

English and French. Def. Ex. 17 (World Customs Organization) at 1. Under Article 3 of the

International Convention on the Harmonized Commodity Description and Coding System (“HS

Convention”), it is the obligation of the Contracting Parties that “its Customs tariff and statistical

nomenclatures . . . [are] in conformity with the Harmonized System.” Id. at 4. Here, the HS

originated in English and not German. Therefore, any German translation of the HS was

intended to conform with the official HS. Thus, a German translation of the document should




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not be applied to alter the meaning of the terms in English, the official (and original) languages

of the WCO and the tariff.

       Moreover, plaintiff cites to Cummins, Inc. v. United States, 454 F.3d 1361, 1366 (Fed.

Cir. 2006) in support of its contention that “respectful consideration” should be given to the

German version of the HS. Pl. Br. at 29. The U.S. Court of Appeals for the Federal Circuit in

Cummins, however, held that decisions of either the WCO or a foreign tribunal may be given

respectful consider – it made no reference to foreign translations of the HS. Cummins, 454 F.3d

at 1366. Therefore, the Court should disregard plaintiff’s reference to the German translation of

the HS.

                                             *        *      *

       In short, the merchandise at issue is not properly classified in subheading 8479.82.00,

HTSUS, as the terms of that subheading do not describe the principal function of the imported

machines. The machines do not grind or crush material, and although there is a screen installed

within the machines, the function of the screen does not reflect the principal function of the

merchandise as a whole.

III.   THE SUBJECT MERCHANDISE IS PROPERLY CLASSIFIED IN
       SUBHEADING 8479.89.94                           _

       Again, the parties agree that the merchandise is properly classified in heading 8479,

HTSUS, as “[m]achines and mechanical appliances having individual functions, not specified or

included elsewhere in this chapter; parts thereof.”

       At the 6-digit subheading level, the “[o]ther machines and mechanical appliances”

category of heading 8479 is divided according to the function of the machines: subheading

8479.81 covers merchandise “[f]or treating metal, including electric wire coil-winders;”

subheading 8479.82 covers machines for “[m]ixing, kneading, crushing, grinding, screening,

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sifting, homogenizing, emulsifying or stirring machines;” and subheading 8479.89 is the “other”

basket provision. None of the subheadings above the basket provision specifically describe the

imported machines.

       Where merchandise is properly classified under a specific heading but does not fall

within any specific subheading, it is properly classified under the relevant heading’s basket or

catch-all provision. Rollerblade, Inc. v. United States, 282 F.3d 1349, 1354 (Fed. Cir. 2002); see

also Well Luck Co., Inc. v. United States, 887 F.3d 1106, 1117 (Fed. Cir. 2018) (holding that,

because the subject merchandise did not fall within any of the eight-digit level subheadings

preceding the HTSUS subheading with the term “other”, it is properly classified under the

“other” subheading) (citing to Rollerblade, 282 F.3d at 1354). Consequently, the merchandise is

properly classified as “other” machines in subheading 8479.89.94.




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                                       CONCLUSION

       For the foregoing reasons, this Court should deny plaintiff’s motion for summary

judgment, enter summary judgment for defendant United States.

                                    Respectfully submitted,

                                    BRIAN M. BOYNTON
                                    Principal Deputy Assistant Attorney General
                                    Civil Division

                                    PATRICIA M. McCARTHY
                                    Director

                                    /s/ Justin R. Miller
                             By:    JUSTIN R. MILLER
                                    Attorney-In-Charge
                                    International Trade Field Office

                                    /s/ Monica P. Triana_____________
                                    MONICA P. TRIANA
                                    Trial Attorney
                                    Department of Justice, Civil Division
                                    Commercial Litigation Branch
                                    26 Federal Plaza – Room 346
                                    New York, New York 10278
                                    Tel. (212) 264-9240 or 9230
Date: January 25, 2023              Attorneys for Defendant




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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. RICHARD K. EATON, JUDGE

                                                      :
VECOPLAN, LLC,                                        :
                                                      :
                               Plaintiff,             :       Court No. 20-00126
                       v.                             :
                                                      :
UNITED STATES,                                        :
                               Defendant.             :
                                                      :

                 CERTIFICATE OF COMPLIANCE PURSUANT TO USCIT
                      STANDARD CHAMBER PROCEDURE 2(B)

       I, Monica P. Triana, trial counsel in the Office of the Assistant Attorney General, Civil

Division, Commercial Litigation Branch, International Trade Field Office, who is responsible for

the foregoing brief, relying upon the Microsoft Word count feature of the word processing

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                                             /s/ Monica P. Triana




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